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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NOTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


GM CASTING HOUSE INC.                        )
                                             )
                    Plaintiff,               )      Case No. 1:24-cv-1821
                                             )
       v.                                    )
                                             )
FOREVER COMPANIES, INC.,                     )
                                             )
                    Defendant.               )
                                             )
                                             )
                                             )
               PLAINTIFF’S DISCLOSURE STATEMENT AND
                   NOTIFICATION AS TO AFFILIATES
       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff GM
Casting House, Inc. (“GM”) states that it has no parent company, and that no publicly
held corporation owns 10% or more of its stock.
       Pursuant to Rule 3.2 of the Local Rules of the United States District Court
Northern District of Illinois, GM identifies Jason Borgstahl and Troy Agler as
affiliates.
DATED: March 4, 2024                         Tucker Ellis LLP


                                             By:   /s/Nathan T. Newman
                                                   Nathan T. Newman
                                                   Howard A. Kroll
                                                   233 South Wacker Drive
                                                   Suite 6950
                                                   Chicago, IL 60606-6395
                                                   Telephone: 312.624.6303
                                                   Facsimile: 312.624.6309
                                                   nathan.newman@tuckerellis.com
                                                   howard.kroll@tuckerellis.com
                                                   Attorneys for Plaintiff
                                                   GM CASTING HOUSE INC.,


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